                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION


L.B., a minor, by and through   )
Next Friend, MICHAEL BUSCHMAN,  )
                                )
           Plaintiff,           )
                                )                   Case No.       2:18-cv-04060-BCW
                   vs.          )
                                )
JEFFERSON CITY SCHOOL DISTRICT, )
                                )
ET AL.,                         )
                                )                   JURY TRIAL DEMANDED
           Defendants.          )


          PLAINTIFF’S MOTION FOR LEAVE TO AMEND THE FIRST
        AMENDED COMPLAINT BY NAMING THE JOHN DOE DEFENDANT

       COMES NOW Plaintiff, by and through counsel, and in compliance with FED. R. CIV. PRO.

15(a)(2) and with Local Rule 15.1(a), hereby moves for an Order granting Plaintiff leave to

amend the First Amended Complaint [Doc. # 28] (“the Complaint’) by naming Deborah Kremer

as the “John Doe” Defendant. In support of this Motion, Plaintiff states:

       1.      The Complaint includes a “John Doe” Defendant, who “was the individual or

individuals responsible for implementing and enforcing the District Policies identified below [in

the Complaint] at JCHS.” See the Complaint, ¶ 5 at p. 2.

       2.      The Complaint states, “Plaintiff will seek leave to amend the Complaint by

substituting parties when the identity or identities of John Doe are revealed during discovery.”

Id.




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        3.     At the deposition of Defendant Robert James, taken on September 13, 2018, it

became clear that Deborah Kremer was the individual responsible for implementing and

enforcing the District Policies identified in the Complaint at JCHS during the relevant time.

        4.     Ms. Kremer is an employee of Jefferson City School District who will likely be

represented by the same counsel that represents the other Defendants.

        5.     Defendants have filed answers to the counts in the Complaint that are directed

against John Doe.

        6.     Naming Ms. Kremer as a Defendant would not prejudice her or any other party in

this case.

        7.     The only amendments that Plaintiff seeks to make to the Complaint are

substitutions of the name “John Doe” with the name “Deborah Kremer.” Plaintiff does not seek

to make any other substantive changes to the Complaint.

        8.     In accordance with Local Rule 15.1(a), a copy of the proposed Second Amended

Complaint is attached to this Motion as Exhibit A.

        WHEREFORE, Plaintiff respectfully requests that the Court grant her leave to amend the

First Amended Complaint by naming Deborah Kremer as the “John Doe” Defendant.




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                                                    RESPECTFULLY SUBMITTED


                                                     /s/ Daniel J. Rhoads
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                                                    L.B., a minor, by and through
                                                    Next Friend, Michael Buschman




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was filed electronically with the

Clerk of the Court on October 8, 2018, to be served by operation of the Court’s electronic filing

system upon:

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